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     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Noa_Oren@fd.org
6    Attorney for Defendant
     DION L. JOHNSON II
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                            Case No. 2:15-cr-00134 GEB
                                                      )
11                   Plaintiff,                       )
                                                      )   STIPULATION AND [PROPOSED] ORDER
12           v.                                           TO CONTINUE STATUS CONFERENCE
                                                      )   AND TO EXCLUDE TIME
13   DION L. JOHNSON II,                              )
                                                      )   Date: October 21, 2016
14                   Defendants.                      )   Time: 9:00 a.m.
                                                      )   Judge: Garland E. Burrell
15                                                    )
16
              IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting U.S. Attorney,
17
     through Justin Lee, Assistant United States Attorney and attorney for Plaintiff, and Heather
18
     Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney for Dion
19
     Laroy Johnson II, that the status conference set for October 21, 2016, be continued to December
20
     9, 2016 at 9:00 a.m.
21
              The reason for this continuance is to allow defense counsel additional time to review
22
     discovery with the defendant, to examine possible defenses and to continue investigating the
23
     facts of the case.
24
              Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25
     excluded of this order’s date through and including December 9, 2016; pursuant to 18 U.S.C.
26
     §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
27
     based upon continuity of counsel and defense preparation.
28

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      Stipulation and Order to Continue and Exclude       -1-                 U.S. v. Webb et al, 15-cr-134 GEB
      Time
        Case 2:15-cr-00134-TLN Document 36 Filed 10/14/16 Page 2 of 3


1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4                                                     Respectfully submitted,
5    DATED: October 12, 2016                          HEATHER E. WILLIAMS
                                                      Federal Defender
6
7                                                     /s/ Noa E. Oren
                                                      NOA E. OREN
8                                                     Assistant Federal Defender
                                                      Attorney for Defendant
9                                                     DION L. JOHNSON II
10
11   DATED: October 12, 2016                          PHILLIP A. TALBERT
                                                      Acting United States Attorney
12
                                                      /s/ Justin Lee
13                                                    JUSTIN LEE
                                                      Assistant U.S. Attorney
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                                                      Attorney for Plaintiff
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      Stipulation and Order to Continue and Exclude     -2-                 U.S. v. Webb et al, 15-cr-134 GEB
      Time
       Case 2:15-cr-00134-TLN Document 36 Filed 10/14/16 Page 3 of 3


1                                                     ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8
             The Court orders the status conference rescheduled for December 9, 2016, at 9:00 a.m.
9
     The Court orders the time from the date of the parties stipulation, up to and including December
10
     9, 2016, excluded from computation of time within which the trial of this case must commence
11
     under the Speedy Trial Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12
     Dated: October 13, 2016
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      Stipulation and Order to Continue and Exclude    -3-                  U.S. v. Webb et al, 15-cr-134 GEB
      Time
